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                                  #:8071


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4 Facsimile: (612) 339-0981
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5 Attorneys for Plaintiffs
6
                         UNITED STATES DISTRICT COURT
7                       CENTRAL DISTRICT OF CALIFORNIA
8                             WESTERN DIVISION
9                                            )
     JENNIFER REITMAN, CAROL                 )   Case No. 2:18-CV-01736-DOC-JPR
10   SHOAFF, and ERIN GRANT                  )
     individually and on behalf of a class   )   DECLARATION OF REBECCA A.
11   of similarly situated individuals,      )
                                             )   PETERSON IN SUPPORT OF
12                PLAINTIFFS,                )   REPLY IN SUPPORT OF
                                             )   PLAINTIFFS’ MOTION FOR
13   v.                                      )
                                             )   CLASS CERTIFICATION
14   CHAMPION PETFOODS USA,                  )
     INC. and CHAMPION                       )   Judge: Hon. David O. Carter
15   PETFOODS LP,                            )   Ctrm: 9th Floor, 9D
                                             )
16                DEFENDANTS.                )   Hearing Date: November 4, 2019
                                             )   Hearing Time: 8:30 a.m.
17                                           )
                                             )
18                                           )
                                             )
19                                           )
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     DECLARATION OF REBECCA A. PETERSON IN SUPPORT OF REPLY IN SUPPORT OF
                 PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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1         I, Rebecca A. Peterson, hereby declare as follows:
2            1.     I am an attorney licensed to practice law before the courts of the State
3    of California and the United States District Court for the Central District of
4    California. I am an attorney at the law firm of Lockridge Grindal Nauen P.L.L.P.,
5    counsel of record for Plaintiffs Jennifer Reitman, Carol Shoaff, and Erin Grant
6    (“Plaintiffs”), and submit this Declaration in support of the Reply in Support of
7    Plaintiffs’ Motion for Class Certification.
8
             2.     Attached as Exhibit 1 is a true and correct compilation of images
9
     taken from the Orijen Original, Puppy, Regional Red, Six Fish, Puppy Large, and
10
     Senior diet packaging that are at issue in this litigation. The sources for these images
11
     are identified therein. For the Court’s convenience, a few select larger images are
12
     set forth below:
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28                                   -1-
     DECLARATION OF REBECCA A. PETERSON IN SUPPORT OF REPLY IN SUPPORT OF
                 PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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17 The blue images are from the Orijen Six Fish diet manufactured at the DogStar
18 kitchen from 2016 to 2017. The brown images are from the Orijen Regional Red diet
19
   manufactured at the DogStar kitchen from 2016 to 2017. The same language and
20
21 images appear, in different colors, on the Original, Puppy, Puppy Large, and Senior
22 diets manufactured at DogStar during the Class Period. The following text and images
23
   appear, sometimes in different colors, on the Puppy, Regional Red, Six Fish, Senior,
24
25 and Puppy Large diets manufactured at NorthStar during the Class Period:
26
27
28                                   -2-
     DECLARATION OF REBECCA A. PETERSON IN SUPPORT OF REPLY IN SUPPORT OF
                 PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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             3.    Attached as Exhibit 2 is a true and correct compilation of images
16
     taken from the Acana Dog (Puppy & Junior, Free-Run Duck, Free-Run Poultry,
17
     Light & Fit, and Freshwater Fish), Regionals (Meadowland, Ranchlands, Pacifica,
18
     Wild Atlantic, Grasslands, and Appalachian Ranch), Singles (Duck & Pear, Pork &
19
     Squash, Lamb & Apple, Chicken & Burbank Potato, and Yorkshire Pork), and
20
     Heritage diet packaging that are at issue in this litigation. The sources for these
21
     images are identified therein. The following text and images appear, sometimes in
22
     different colors, on all of these diets’ packaging during the Class Period:
23
24
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28                                   -3-
     DECLARATION OF REBECCA A. PETERSON IN SUPPORT OF REPLY IN SUPPORT OF
                 PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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1 And the following appears, in different colors, on the vast majority of the diets
2 manufactured at the DogStar kitchens:
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28                                   -4-
     DECLARATION OF REBECCA A. PETERSON IN SUPPORT OF REPLY IN SUPPORT OF
                 PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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16          4.    Attached as Exhibit 3 is a true and correct copy of relevant excerpts
17   from an Acana Brand Guide (Bates numbered CPF0083211 at -15, -19, -27, -41, -
18   42).
19
            5.    Attached as Exhibit 4 is a true and correct copy of relevant excerpts
20
     from Orijen Brand Guidelines (Bates numbered CPF0083262 at -66, -70, -79, -92, -
21
     93).
22
            6.    Attached as Exhibit 5 is a true and correct copy of a relevant excerpt
23
     of agenda items with meeting notes and additional post-meeting comments, dated
24
     January 17, 2011 (Bates numbered CPF0077754 at -56). FILED AS REDACTED.
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28                                   -5-
     DECLARATION OF REBECCA A. PETERSON IN SUPPORT OF REPLY IN SUPPORT OF
                 PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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1            7.    Attached as Exhibit 6 is a true and correct copy of a relevant excerpt
2    from a document titled “Our Foundation: Our Guiding Principles” dated August 9,
3    2018 (Bates numbered CPF1999067 at -68).
4            8.    Attached as Exhibit 7 is a true and correct copy of relevant excerpts
5    from a Champion Petfoods Application Form for Canada’s Growing Forward’s
6    Agri-Business Automation and Lean Manufacturing Program (Bates numbered
7    CPF2011289 at -90 to -92). FILED AS REDACTED.
8
             9.    Attached as Exhibit 8 is a true and correct copy of relevant excerpts
9
     from a “2018 Product Strategy (Bates numbered CPF0257792 at -812, -831, -842, -
10
     853).
11
12           10.   Attached as Exhibit 9 is a true and correct copy of relevant excerpts

13   from a document titled “US B2C Pilot Strategy” dated November 17, 2017 (Bates

14   numbered CPF1817441 at -42, -51).

15           11.   Attached as Exhibit 10 is a true and correct copy of a Standard
16   Operating Procedure for Bag Development effective November 10, 2016 (Bates
17   numbered CPF0142244). FILED AS REDACTED.
18           12.   Attached as Exhibit 11 is a true and correct copy of Customer Care
19   Contact and FAQS (Bates numbered CPF0062104).
20
             13.   Attached as Exhibit 12 is a true and correct copy of relevant excerpts
21
     from the November 28, 2018, Videotaped Deposition of Personal & 30(b)(6)
22
     Designee Christopher Milam.
23
24           14.   Attached as Exhibit 13 is a true and correct copy of relevant excerpts

25   from the transcript of the April 3, 2019, Videotaped 30(b)(6) Deposition of Jim

26   Wagner.

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28                                   -6-
     DECLARATION OF REBECCA A. PETERSON IN SUPPORT OF REPLY IN SUPPORT OF
                 PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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1           15.   Attached as Exhibit 14 is a true and correct copy of an e-mail from
2    Jon Hickerson to Ken Gilmurray and Todd Scherbing at JBS dated November 1,
3    2018 and an excerpt from the attachment (Bates numbered CPF2117799). FILED
4    AS REDACTED.
5           16.   Attached as Exhibit 15 is a true and correct copy of a relevant excerpt
6    from a CPF application to the Alberta Livestock and Meat Agency’s Industry &
7    Market Development Program (Bates numbered CPF1286058 at -60). FILED AS
8    REDACTED.
9
            17.   Attached as Exhibit 16 is a true and correct copy of a relevant excerpt
10
     of a November 2013 e-mail (Bates numbered CPF0072009 at -35). FILED AS
11
     REDACTED.
12
13          18.   Attached as Exhibit 17 is a true and correct copy of a document titled

14   “GROW Working Relationships” dated September 13, 2017 (Bates numbered

15   CPF0255511). FILED AS REDACTED.

16          19.   Attached as Exhibit 18 is a true and correct copy of a relevant excerpt
17   from a letter from the U.S. Food and Drug Administration to Amanda Flowers dated
18   February 26, 2018 (Bates numbered CPF1349276 at -78).
19          20.   Attached as Exhibit 19 is a true and correct copy of relevant excerpts
20   from a Goods Receiving Inspection Report dated April 4, 2018 (Bates numbered
21   CPF1616586 at -86 to -87). FILED AS REDACTED.
22
            21.   Attached as Exhibit 20 is a true and correct copy of various Purchase
23
     Orders (Bates numbered CPF1620214). FILED AS REDACTED.
24
25          22.   Attached as Exhibit 21 is a true and correct copy of relevant excerpts

26   from Purchase Orders (Bates numbered CPF1624001 at -01 to -03). FILED AS

27   REDACTED.

28                                   -7-
     DECLARATION OF REBECCA A. PETERSON IN SUPPORT OF REPLY IN SUPPORT OF
                 PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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1           23.    Attached as Exhibit 22 is a true and correct copy of a Certificate of
2    Analysis dated May 1, 2018 (Bates numbered CPF0054930).
3           24.    Attached as Exhibit 23 is a true and correct copy of e-mails between
4    Vanessa Nieto and Chris Milam dated May 24, 2017 (Bates numbered
5    CPF1803444).
6
            25.    Attached as Exhibit 24 is a true and correct copy of an Excel
7
     spreadsheet related to CPF’s suppliers (Bates numbered CPF2074587). FILED AS
8
     REDACTED.
9
10          26.    Attached as Exhibit 25 is a true and correct copy of relevant excerpts

11   from a process flow diagram and description of CPF’s manufacturing process (Bates

12   numbered CPF1716207 at -209, -212). FILED AS REDACTED.

13          27.    Attached as Exhibit 26 is a true and correct copy of a relevant excerpt
14   from a document titled “Attribute White Paper” for Project Panther (Bates numbered
15   CPF1760516 at -25).
16          28.    Attached as Exhibit 27 is a true and correct copy of a relevant excerpt
17   from a Quality Assurance Product Release Form for Acana Sport, extrusion date
18   February 11, 2013 (Bates numbered CPF0359399 at -41).
19
            29.    Attached as Exhibit 28 is a true and correct copy of a relevant excerpt
20
     from a Quality Assurance Product Release Form for Orijen Adult, extrusion date
21
     December 23, 2012 (Bates numbered CPF0353461 at -63). FILED AS
22
     REDACTED.
23
24          30.    Attached as Exhibit 29 is a true and correct copy of a relevant excerpt

25   from a Team USA Report dated August 2017 (Bates numbered CPF1813063 at -

26   073). FILED AS REDACTED.

27
28                                   -8-
     DECLARATION OF REBECCA A. PETERSON IN SUPPORT OF REPLY IN SUPPORT OF
                 PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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1           31.    Attached as Exhibit 30 is a true and correct copy of relevant excerpts
2    from a Quality Assurance Product Release Form for Acana Duck & Pear, extrusion
3    date February 28, 2015 (Bates numbered CPF0537694 at -694, -773, -775).
4           32.    Attached as Exhibit 31 is a true and correct copy of relevant excerpts
5    from a Quality Assurance Product Release Form for Acana Duck & Pear, extrusion
6    date March 19, 2015 (Bates numbered CPF0551343 at -343, -418, -419).
7
            33.    Attached as Exhibit 32 is a true and correct copy of internal CPF e-
8
     mail exchanges dated October and November 2018 between Daksha Patel, Debbie
9
     Ricciardi, Buddhi Sapkota, Mainul Bhuiyan, Ashley Rocher, Rachel Natividad,
10
     Mitchell Davison, Theresa Liddell, Chinedu Ogbonna, Jaimi Seutter, Jeff Johnston,
11
     and Janelle Kelly (Bates numbered CPF1786936).
12
13          34.    Attached as Exhibit 33 is a true and correct copy of a relevant excerpt

14   from a document titled, “SQF Level 2 GAP Assessment, Champion PetFoods

15   DogStar Kitchens” (Bates numbered CPF2024487 at -509).

16          35.    Attached as Exhibit 34 is a true and correct copy of a relevant excerpt
17   from a February 2018 e-mail exchange between Chinedu Ogbonna and Jaimi Seutter
18   (Bates numbered CPF1768703).
19          36.    Attached as Exhibit 35 is a true and correct copy of relevant excerpts
20   from a document titled “Storage life of fresh meat blend” dated February 2015
21   (Bates numbered CPF1781155 at -56, -61). FILED AS REDACTED.
22
            37.    Attached as Exhibit 36 is a true and correct copy of a Laboratory
23
     Shift Report dated September 8, 2016 (Bates numbered CPF2055446).
24
25          38.    Attached as Exhibit 37 is a true and correct copy of an e-mail

26   exchange between David Chapman and Travis Appling dated May 12, 2016 (Bates

27   numbered CPF1719560).

28                                   -9-
     DECLARATION OF REBECCA A. PETERSON IN SUPPORT OF REPLY IN SUPPORT OF
                 PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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1           39.      Attached as Exhibit 38 is a true and correct copy of November 2015
2    e-mails between Anna Macht, Andrew Stovall, and Sara Brown-Tarry (Bates
3    numbered CPF1183880).
4           40.      Attached as Exhibit 39 is a true and correct copy of a relevant excerpt
5    from a letter from Pack Leader Pet Products (Pty) Ltd. to Champion Petfoods LP
6    and its consultant, Advertising Standards Authority of South Africa dated January
7    15, 2016 (Bates numbered CPF2047936 at -43).
8
            41.      Attached as Exhibit 40 is a true and correct copy of a relevant excerpt
9
     from an e-mail from Liz Hulley to the Sales Teams dated May 25, 2017 (Bates
10
     numbered CPF0001235 at -36).
11
12          42.      Attached as Exhibit 41 is a true and correct copy of a document

13   regarding web page views from May 1, 2017, to February 28, 2018 (Bates numbered

14   CPF2111857).

15          43.      Attached as Exhibit 42 is a true and correct compilation of the
16   following documents produced by CPF showing its purchasing history with JBS:
17
             CPF0046822 – JBS produces 47,000 pounds of Beef Tallow (Lot #14)
18
                  which is then sold to CPF on November 29, 2017
19
             CPF0047840 – JBS produces 47,000 pounds of Beef Tallow (Lot #15)
20
                  which is then sold to CPF on December 2, 2017
21
             CPF0048919 – JBS MOPAC produces 47,000lb of Beef Tallow (Lot
22
                  #16) which is then sold to CPF on January 11, 2018
23
             CPF0049307 – JBS produces 46,480 pounds of Beef Tallow (Lot #17)
24
                  which is then sold to CPF on January 18, 2018
25
             CPF0050489 – JBS produces 45,660 pounds of Beef Tallow (Lot #18)
26
                  which is then sold to CPF on February 8, 2018
27
28                                  - 10 -
     DECLARATION OF REBECCA A. PETERSON IN SUPPORT OF REPLY IN SUPPORT OF
                 PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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1           44.   Attached as Exhibit 43 is a true and correct copy of relevant excerpts
2    from a document titled, “Clean Label Project: Pet Food Study and Certification,
3    Overview” from Ellipse Analytics (Bates numbered CPF0151410 at -10 to -15).
4           45.   Attached as Exhibit 44 is a true and correct copy of an April 2017 e-
5    mail exchange related to the Clean Label Project (Bates numbered CPF0151408).
6
            46.   Attached as Exhibit 45 is a true and correct copy of excerpts from the
7
     Deposition of Julie Washington taken on December 5, 2018.
8
9           47.   Attached as Exhibit 46 is a true and correct copy of e-mails between

10   Bonnie CC and Chinedu Ogbonna on February 24, 2017 (Bates numbered

11   CPF1748144).

12          48.   Attached as Exhibit 47 is a true and correct copy of February 2018
13   e-mail exchanges between Jeff Johnston, Christine Pendlebury, Nitasha Happy,
14   Chris Milam, and Sarah Brown (Bates numbered CPF1285631).
15          49.   Attached as Exhibit 48 is a true and correct copy of an Excel
16   spreadsheet related to CPF’s suppliers (Bates numbered CPF2117189). FILED AS
17   REDACTED.
18
            50.   Attached as Exhibit 49 is a true and correct copy of a Beef Fat Issue
19
     Summary (Bates numbered CPF2118689).
20
21          51.   Attached as Exhibit 50 is a true and correct copy of an External

22   Memorandum from Exponent to Champion, dated May 11, 2018, Subject:

23   Privileged and Confidential- Potential exposure to pentobarbital in dog food –

24   REVIEW DRAFT (Bates numbered CPF2120224). FILED AS REDACTED.

25          52.   Attached as Exhibit 51 is a true and correct copy of an internal update
26   on pentobarbital investigation (Bates numbered CPF2118744).
27
28                                  - 11 -
     DECLARATION OF REBECCA A. PETERSON IN SUPPORT OF REPLY IN SUPPORT OF
                 PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
Case 2:18-cv-01736-DOC-JPR Document 212-1 Filed 10/14/19 Page 13 of 13 Page ID
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 1            53.   Attached as Exhibit 52 is a true and correct copy of testing reports
 2    for samples for JBS tallow (Bates numbered JBS0007485). FILED AS
 3    REDACTED.
 4            54.   Attached as Exhibit 53 is a true and correct copy of excerpts from the
 5    December 5, 2018, Videotaped Deposition of Bonnie Gerow.
 6
              55.   Plaintiffs have disclosed experts to opine on the inclusion of heavy
 7
      metals and pentobarbital.
 8
 9        I declare, under penalty of perjury, under the laws of the United States of

10 America, that the foregoing is true and correct.
11        Executed on October 14, 2019.
12
                                                        /s/ Rebecca Peterson
13
                                                      REBECCA A. PETERSON
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     DECLARATION OF REBECCA A. PETERSON IN SUPPORT OF REPLY IN SUPPORT OF
                 PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
